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                                                                          FILED
                                                                           MAY 11 2015
                  IN THE UNITED STATES DISTRICT COURT
                                                                        Clerk, U.S District Court
                      FOR THE DISTRICT OF MONTANA -,                      District Of Montana
                                                                                Missoula
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,
                                                        CR 15-6-M-DLC
                      Plaintiff,
                                                       FINDINGS AND
         vs.
                                                     RECOMME NDATION
                                                     CONCERN ING PLEA
 DELBERT WILLIS,

                      Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to: (1) one count of possession of child

pornography in violation of 18 U.S. conspiring with the intent to distribute, and to

distribute methamphetamine in violation of 21 U.S.C. §§ 84l(a)(l) and 846

(Count I), 2252A(a)(5)(B) (Count I); (2) one count of distributing heroin in

violation of21 U.S.C. § 84l(a)(l) (Count IV); and (3) one count of transporting a

person with the intent to have the person engage in criminal sexual activity in

violation of 18 U.S.C. § 2421 (Count X), all as set forth in the Indictment. In

exchange for Defendant's plea, the United States has agreed to dismiss Counts II,


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III, V, IX, XI, XII, XIII, XIV and XV of the Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering informed

and voluntary pleas,

      2. That the Defendant is aware of the nature of the charges against him and

consequences of pleading guilty to the charges,

      3. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty, and

      4. That his pleas of guilty are knowing and voluntary pleas, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offenses charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of Counts I,

IV, and X of the Indictment, and that sentence be imposed. I further recommend

that Counts II, III, V, IX, XI, XII, XIII, XIV and XV of the Indictment be

dismissed.

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     This report is forwarded with the recommendation that the Court defer

a decision re2ardin2 acceptance until the Court has reviewed the Plea

A2reement and the presentence report.

     DATED this 11th day of May, 2015.



                                           iah C. Lynch
                                        ited States Magistrate Judge




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